        Case 1:02-cv-00508-BH-C Document 89 Filed 11/28/05 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

CARL A. PERRY, JR.,                     :

      Plaintiff,                        :

vs.                                     : CIVIL ACTION 02-0508-BH-C

DONAL CAMPBELL, et al.,                 :

      Defendants.                       :


                                     JUDGMENT


      It is ORDERED , ADJUDGED, and DECREED that Plaintiff’s Complaint be and is

hereby DISMISSED with prejudice.

      DONE this 28th day of November, 2005.

                                                               s/ W. B. Hand
                                                          SENIOR DISTRICT JUDGE
